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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


  DONNA ALLISON,                              Civil Action
  Individually and as a representative of a   No: 2:20-cv-06018-EAS-CMV
  class of similarly situated persons, on
  behalf of the L BRANDS, INC. 401(K)
  SAVINGS AND RETIREMENT PLAN,

                Plaintiff,
           v.

  L BRANDS, INC., L BRANDS SERVICE
  COMPANY, LLC, THE RETIREMENT PLAN
  COMMITTEE OF THE L BRANDS, INC.
  401(K) SAVINGS AND RETIREMENT PLAN;
  and DOES No. 1–10,
  Whose Names Are Currently Unknown,

                Defendants.                   August 11, 2022



     PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF THE UNOPPOSED
    MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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        Plaintiff, Donna Allison, on behalf of the proposed Settlement Class and the L Brands,

 Inc. 401(k) Savings and Retirement Plan (the “Plan”), respectfully submits this Memorandum of

 Law in Support of her Unopposed Motion for Preliminary Approval of Class Action Settlement

 (the “Motion”), requesting the Court issue an Order that: (1) preliminarily approves the

 Settlement Agreement dated August 11, 2022 with Defendants, L Brands, Inc. (“L Brands”), L

 Brands Service Company LLC, and the Retirement Plan Committee of the L Brands, Inc. 401(k)

 Savings and Retirement Plan (collectively, “Defendants,” and with Plaintiff, the “Parties”); 1 (2)

 preliminarily certifies the proposed Settlement Class; (3) approves the proposed notice plan

 (“Notice Plan”) in the Settlement Agreement and proposed Preliminary Approval Order; and (4)

 sets a final approval hearing on a date convenient for the Court at least one hundred twenty (120)

 calendar days after the entry of the proposed Preliminary Approval Order.

                                         INTRODUCTION

        The Parties have agreed to a proposed settlement (“Settlement”) of this putative class

 action lawsuit (the “Action”), brought under the Employee Retirement Income Security Act of

 1974 (“ERISA”), for total relief of $2,750,000.00, as well as certain non-monetary terms, which

 will provide a substantial recovery to members of the Settlement Class. 2 In light of the

 substantial relief provided by the Settlement and the risks of continued litigation, Plaintiff and

 Class Counsel believe the Settlement is fair, reasonable, adequate, and in the best interests of the


 1
  The Settlement Agreement and its exhibits are attached to the accompanying Declaration of
 Alec Berin. Terms not defined herein shall have the same meaning as in the Settlement
 Agreement.
 2
  “Settlement Class” means all participants and beneficiaries of the Plan, at any time during the
 Class Period, including any beneficiary of a deceased person who was a participant in the Plan at
 any time during the Class Period, and, in the case of a person subject to a QDRO who was a
 participant in the Plan at any time during the Class Period, any Alternate Payees. The Class shall
 exclude all Defendants, including members of the Administrative Committee during the Class
 Period. See Settlement Agreement § 1.10.


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 Settlement Class.

        Plaintiff and Class Counsel have vigorously pursued relief on behalf of the Plan. The

 Parties agreed to the Settlement after extensive motion practice, discovery, and arm’s-length

 negotiations by experienced counsel, including at a private mediation session with an

 experienced mediator. Resolving the Action at this juncture allows the Parties to avoid

 continued and costly litigation that would deplete resources which could otherwise be used for

 the resolution of the Action, and which could result in a recovery less than that provided by the

 Settlement, or no recovery at all.

        As set forth below, all prerequisites for preliminary approval of the Settlement and

 certification of the Settlement Class are satisfied. As such, Plaintiff’s Motion should be granted,

 and notice should be provided to the Participants in accordance with the Notice Plan.

                                  RELEVANT BACKGROUND

        Plaintiff alleges that Defendants are fiduciaries of the Plan and breached duties owed to

 the Plan and its participants and beneficiaries by: (1) causing the Plan to pay unreasonable

 investment management fees; and (2) causing the Plan to pay unreasonable recordkeeping and

 administrative fees. See Compl., ECF No. 1, ¶¶ 24–34. Plaintiff’s allegations are set forth in full

 in the Complaint, which Plaintiff filed on November 23, 2020. Defendants moved to dismiss on

 February 12, 2021 (ECF Nos. 7, 8). While Defendants’ motion to dismiss was pending, the

 parties engaged in meaningful initial discovery efforts, including the production and review of

 more than 7,000 pages of documents related to Plan administration and Defendants’ alleged

 conduct. See Berin Decl. ¶ 6. The Court denied Defendants’ motion to dismiss on September

 16, 2021, (ECF No. 39) and the Court entered a Preliminary Pretrial Order on October 18, 2021

 (ECF No. 45) that included deadlines for the Parties to exchange settlement communications and



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 reflected the Parties’ agreement to make a good faith effort to resolve the case by settlement.

 The Parties subsequently agreed to proceed with private mediation.

        In preparation for mediation, the Parties communicated their positions regarding the

 merits of Plaintiff’s claims and Defendants’ defenses, and the potential associated damages. The

 Parties held a mediation session with David Geronemus, Esquire, of JAMS, a well-respected,

 neutral mediator who is experienced in mediating claims of the kind at issue in the Action. The

 Parties exchanged briefs and follow-up information prior to and during the mediation and

 reached an agreement in principle to resolve the Action on May 3, 2022. The parties worked to

 document the same in the Settlement Agreement.

        The Settlement provides that, in exchange for dismissal of the Action and a release of

 claims, Defendants will pay the aggregate amount of $2,750,000.00 into a Qualified Settlement

 Fund to be allocated to Participants, Former Participants, Beneficiaries, and Alternate Payees of

 the Plan pursuant to the Plan of Allocation. See Settlement Agreement, §§ 1.37, 3.2; Berin

 Decl., Ex. C. The Settlement Agreement and the proposed Preliminary Approval Order set forth

 the Notice Plan and describe Plaintiff’s anticipated requests for payment of attorneys’ fees and

 litigation expenses to Class Counsel and for a case contribution award, all of which are subject to

 the Court’s approval. See Settlement Agreement, §§ 2.8, 7.1, 7.2; Berin Decl., Ex. D. In

 addition, the Settlement Agreement provides for the approval of the Settlement by an

 Independent Fiduciary. See Settlement Agreement, § 2.6.

        The Parties respectfully request that the Court schedule a Fairness Hearing, at or after

 which the Court will be asked to determine whether the Settlement is fair, reasonable, and

 adequate, and merits final approval. Plaintiff proposes the following schedule associated with

 the Notice Plan and Fairness Hearing:



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               Event                  Reference to                  Proposed Deadline
                                      Preliminary
                                     Approval Order
   Preliminary approval hearing                           If the Court deems necessary, on a date
                                                          convenient for the Court within 45 days of
                                                          the preliminary approval filing


   Settlement Administrator to      ¶8                    Within 45 days of entry of Preliminary
   set up settlement website and                          Approval Order
   toll-free number
   Send Settlement Notice and       ¶8                    Within 45 days of entry of Preliminary
   Former Participant Claim                               Approval Order
   Form to Class Members
   Final approval papers and fee    ¶9                    45 days before Fairness Hearing
   request

   Independent Fiduciary report     Settlement            Not later than 21 days before the
                                    Agreement ¶ 2.6       Fairness Hearing

   Deadline for filing of           ¶ 11                  Not later than 30 days before the
   objections                                             Fairness Hearing
   Deadline for Parties to          ¶ 11                  Not later than 7 days before Fairness
   respond to objections or file                          Hearing
   any additional papers in
   support of Settlement

   Fairness Hearing                 ¶6                    On a date convenient for the Court no
                                                          sooner than 120 days after the date the
                                                          motion for entry of the Preliminary
                                                          Approval Order is filed

                                   STANDARD OF REVIEW
        Under Federal Rule of Civil Procedure (“Rule”) 23, when the Court is presented with a

 proposed settlement, it must determine whether the proposed settlement class satisfies the

 requirements for class certification under Rule 23. See Jackson v. TruBridge, Inc., No. 5:16-CV-

 00223, 2017 WL 2989727, at *2 (N.D. Ohio Jan. 26, 2017) (citing In re Whirlpool Corp. Front-

 Loading Washer Prods. Liab. Litig., 722 F.3d 838, 850 (6th Cir. 2013)). Class certification



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 under Rule 23 has two primary components: a proposed class must meet the four requirements of

 Rule 23(a) and the requirements of at least one subsection of Rule 23(b). See Amchem Prods.,

 Inc. v. Windsor, 521 U.S. 591, 613–14 (1997); Fed. R. Civ. P. 23.

        Preliminary approval of a proposed settlement is based upon the court’s “familiarity with

 the issues and evidence, as well as the arm[’]s-length nature of the negotiations prior to the

 proposed settlement, ensuring that the proposed settlement is not illegal or collusive.” In re Dun

 & Bradstreet Credit Servs. Customer Litig., 130 F.R.D. 366, 370, (S.D. Ohio 1990). At the

 preliminary approval stage, the Court must evaluate the fairness, reasonableness, and adequacy

 of the settlement terms. See Jackson, 2017 WL 2989727, at *2 (citing Fed. R. Civ. P. 23(e)).

 This Court approaches that analysis with the understanding that “the law favors settlement,

 particularly in class actions and other complex cases where substantial judicial resources can be

 conserved by avoiding formal litigation.” Motter v. O’Brien, No. 2:13-CV-216, 2014 WL

 12892732, at *1 (S.D. Ohio June 12, 2014) (citing Int’l Union, United Auto, Aerospace, and

 Implement Workers of Am. v. General Motors Corp., 497 F.3d 615, 632 (6th Cir. 2007)

 (recognizing “federal policy favoring settlement of class actions”)). 3 Accordingly, at the

 preliminary approval stage, the Court need only find that the “settlement agreement is within the

 range of reasonableness[.]” Patrick v. AK Steel Corp., No. 1:05-CV-681, 2013 WL 12228406, at

 *1 (S.D. Ohio July 29, 2013).


  3
    At final approval, the Court will evaluate the Settlement in light of certain factors identified
  by the Sixth Circuit: “1. Plaintiffs’ likelihood of ultimate success on the merits balanced against
  the amount and form of relief offered in settlement; 2. The complexity, expense and likely
  duration of the litigation; 3. The stage of the proceedings and the amount of discovery
  completed; 4. The judgment of experienced trial counsel; 5. The nature of the negotiations; 6.
  The objections raised by the class members; and 7. The public interest.” In re Broadwing, Inc.
  ERISA Litig., 252 F.R.D. 369, 372 (S.D. Ohio 2006). While the Court need not reach final
  determinations regarding these factors at this juncture, even a preliminary review of these
  factors reveals that the settlement warrants approval.


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                                              ARGUMENT
      I.        CERTIFICATION OF A SETTLEMENT CLASS IS APPROPRIATE

           While ERISA representative actions are ideally suited for class action treatment, when

 “[c]onfronted with a request for settlement-only class certification, a district court need not

 inquire whether the case, if tried, would present intractable management problems . . . for the

 proposal is that there be no trial.” Amchem, 521 U.S. at 620; see also In re Cardizem CD

 Antitrust Litig., 218 F.R.D. 508, 517 (E.D. Mich. 2003) (same). Even setting aside the less

 stringent inquiry relevant here, this District has recognized that “cases such as this, which

 involve allegations of fiduciary breaches to a trust or plan, are precisely the type of cases that are

 encompassed by” Rule 23(b)(1). Karpik v. Huntington Bancshares Inc., No. 2:17-cv-1153, 2021

 WL 757123, at *11 (S.D. Ohio Feb. 8, 2021); see also Dudenhoeffer v. Fifth Third Bancorp, No.

 1:08-cv-538-SSB, 2016 WL 9343955, at *2 (S.D. Ohio July 11, 2016) (calling ERISA actions a

 “paradigmatic example” of a case appropriate for certification as a Rule 23(b)(1) class); In re

 Schering Plough Corp. ERISA Litig., 589 F.3d 585, 604 (3d Cir. 2009) (same).

           A.         The Settlement Class Satisfies Rule 23(a)

           The requirements of Rule 23(a) are commonly referred to as numerosity, commonality,

 typicality, and adequacy of representation. See Amchem, 521 U.S. at 613. Plaintiff and the

 proposed Class satisfy each of the Rule 23(a) prerequisites.

                 i.          Numerosity

           The numerosity requirement of Rule 23 requires that a putative class must be “so

 numerous that joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). While the

 numerosity inquiry depends on the facts of the specific case, Broadwing, 252 F.R.D. at 376,

 practicability of joinder generally depends on the “ease of identifying members and determining

 addresses, ease of service on members if joined, and geographical dispersion among other


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 things.” Turnage v. Norfolk S. Corp., 307 Fed. App’x 918, 921 (6th Cir. 2009). Importantly, a

 plaintiff does not need to prove that it is impossible to join all proposed class members, but

 merely that “joinder would be difficult and inconvenient.” Fenley v. Wood Grp. Mustang, Inc.,

 325 F.R.D. 232, 249 (S.D. Ohio 2018) (internal quotations omitted). Courts in this circuit

 recognize there is “no strict numerical test for determining impracticability of joinder,” but when

 a class is substantially large, “the impracticability requirement is usually satisfied by the numbers

 alone.” In re Nationwide Fin. Servs. Litig., No. 2:08-CV-00249, 2009 WL 8747486, at *9 (S.D.

 Ohio Aug. 19, 2009) (citing In re Am. Medical Sys., 75 F.3d 1069, 1079 (6th Cir. 1996)). In fact,

 numerosity “is presumed when there are at least 40 class members,” far fewer than the

 Settlement Class here. Karpik, 2021 WL 757123, at *10. Thus, the proposed Class easily meets

 Rule 23(a)’s numerosity requirement.

              ii.       Commonality

        The commonality prerequisite of Rule 23 requires “questions of law or fact common to

 the class.” Fed. R. Civ. P. 23(a)(2). Commonality involves the ability of a class-wide

 proceeding to generate “common answers that are likely to drive resolution of the lawsuit.”

 Whirlpool, 722 F.3d at 852. Although Rule 23 refers to “questions” in the plural, the Sixth

 Circuit requires only one question common to the class. Fenley, 325 F.R.D. at 250 (citing

 Sprague v. Gen. Motors Corp., 133 F.3d 388, 397 (6th Cir. 1998) (en banc)). Accordingly, the

 commonality requirement is met when there is at least one common question, the determination

 of which “will resolve an issue that is central to the validity of each one of the claims in one

 stroke.” Wal- Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).

        Courts in this Circuit find the commonality prerequisite satisfied where “a plaintiff

 alleges a common course of conduct arising out of a single set of operative facts[.]” Nationwide,

 2009 WL 8747486, at *9. Plaintiff alleges Defendants breached fiduciary duties owed to the

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 Plan under ERISA § 404, 29 U.S.C. § 1104, and brings the Action in a representative capacity

 under ERISA §§ 409 and 502(a)(2), 29 U.S.C. §§ 1109, 1132(a)(2). Thus, Plaintiff’s Plan-wide

 claims involve legal and factual questions that inherently affect all participants and beneficiaries

 in the Plan. Indeed, Plaintiff “bring[s] suit on behalf of participants in the Plan [], the centralized

 administration of which is common to all class members.” Cunningham v. Cornell Univ., 2019

 WL 275827, at *5 (S.D.N.Y. Jan. 22, 2019). “Because the fiduciary duties are owed to the

 [Plan] . . . common questions of law and fact are central to the case.” Id.; see 29 U.S.C. §

 1104(a)(1) (“a fiduciary shall discharge his duties with respect to a plan”) (emphasis added).

        The core questions in this Action are common to all Plan participants and include: (i)

 whether Defendants are fiduciaries of the Plan; (ii) whether Defendants breached their fiduciary

 duties by causing the Plan to incur excessive recordkeeping and administrative fees; (iii) whether

 the Plan suffered resulting losses; (iv) the proper manner in which to calculate the Plan’s losses;

 and (v) what equitable relief, if any, is appropriate in light of these alleged breaches. See Shirk

 v. Fifth Third Bancorp., No. 05-CV-049, 2008 WL 4425535, at *2 (S.D. Ohio Sept. 30, 2008)

 (finding that similar questions in an ERISA case satisfied the commonality requirement); see

 also Nationwide, 2009 WL 874786, at *9 (“In general, determining Defendants’ liability for

 alleged violations of fiduciary duties is common to all Class members”).

        While a single common question is sufficient to meet this standard, the common

 questions here are numerous. See Wal-Mart, 564 U.S. at 359. Since the critical issues in this

 litigation involve the acts and omissions of Defendants, they are “common to all Class Members

 because a breach of fiduciary duty affects all participants and beneficiaries.” Broadwing, 252

 F.R.D. at 377. The evidence required to answer the central contentions in the Action exists at the

 Plan-level and, consequently, is common to all the Plan’s participants. If the evidence shows



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 that Defendants are fiduciaries and breached their alleged fiduciary duties, “it would not only

 generate answers applicable to all class members, but would also address the heart of the claims

 at issue in this litigation.” Leber v. Citigroup 401(k) Plan Inv. Comm., 323 F.R.D. 145, 160

 (S.D.N.Y. 2017). These answers do not depend on the particular circumstances of any individual

 participant because, in ERISA fiduciary breach actions, “liability is determined based on

 Defendants’ not Plaintiff[’s] decisions.” Moreno v. Deutsche Bank Americas Holding Corp., No.

 15 CIV. 9936 (LGS), 2017 WL 3868803, at *5 (S.D.N.Y. Sept. 5, 2017). The questions of law

 and fact in the Action are, by their nature, common to each member of the proposed Class, as the

 central allegations concern Defendants’ administration of the Plan and Defendants’ duties ran to

 the Plan. See Sacerdote v. New York Univ., 2018 WL 840364, at *3 (S.D.N.Y. Feb. 13, 2018).

 Since the central allegations here concern Defendants’ administration of the Plan, common

 questions pervade the Action.

             iii.       Typicality

        The typicality prerequisite of Rule 23 requires that the claims of the representative

 plaintiffs be typical of the claims of the class. See Fed. R. Civ. P. 23(a)(3). The inquiry assesses

 “whether a sufficient relationship exists between the injury to the named plaintiff and the

 conduct affecting the class, so that the court may properly attribute a collective nature to the

 challenged conduct.” Sprague, 133 F.3d at 399. This District has held that a plaintiff’s claim is

 typical when “it arises from the same event or practice or course of conduct that gives rise to the

 claims of other class members, and if the named plaintiff’s claims are based on the same legal

 theory.” Rikos v. Proctor & Gamble Co., No. 11-cv-226, 2018 WL 2009681, at *5 (S.D. Ohio

 Apr. 30, 2018). Here, typicality is satisfied here for many of the same reasons as commonality.

 See Wal-Mart, 564 U.S. at 349 n.5 (explaining that the commonality and typicality inquiries

 “tend to merge”).

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        Plaintiff brings this Action on behalf of the Plan, and any recovery of lost benefits will

 go to “the Plan as a whole.” Shirk, 2008 WL 4425535, at *2. Courts routinely find a

 participant’s fiduciary breach claim to be typical of the claims of all participants in a plan. See

 id. at *3 (“Generally, there is little doubt that a class representative’s breach of fiduciary duty

 claim is in every respect typical of those of his fellow class members.”); Karpik, 2021 WL

 757123, at *11 (“the fact that Plaintiffs brought the claims on behalf of the Plan weighs heavily

 in a Rule 23(a)(3) analysis of the parties’ claims and defenses.”) (internal quotations omitted);

 Sacerdote, 2018 WL 840364, at *3 (noting that analysis of the typicality factor is similar to the

 commonality analysis and finding that because “[e]ach named plaintiff is asserting a claim on

 behalf of the Plans . . . [t]he adjudication of the breach of fiduciary duty claims will not turn on

 any individual class member’s circumstance”). The circumstances in this Action, in which

 Plaintiff alleges fiduciary breaches arising out of Defendants’ management and administration of

 the Plan, are no exception.

        Defendants’ alleged Plan-wide conduct at issue in the Action is of a kind routinely found

 to support determinations of typicality. See Karpik, 2021 WL 757123, at *11 (noting that a

 finding of typicality “is further supported by the fact that ERISA contains unique standing and

 remedial provisions that allow a participant who sues for a breach of fiduciary duty to obtain

 plan-wide relief.”) (citing Shirk, 2008 WL 4425535, at *3); see generally In re Inter-Op Hip

 Prosthesis Liability Litig., 204 F.R.D. 330, 341 (N.D. Ohio 2001) (“Sometimes the issues are

 plain enough from the pleadings to determine whether the interests of the absent parties are fairly

 encompassed within the named plaintiff’s claim . . .”) (citing General Telephone Co. of

 Southwest v. Falcon, 457 U.S. 147, 160 (1982)). Likewise, the remedial theory asserted by

 Plaintiff here is identical among all members of the Class. See Broadwing, 252 F.R.D. at 378



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 (finding typicality when “the representative party’s claims are based on the same legal theories

 as other Class Members”). In sum, Plaintiff’s claims on behalf of the Plan are typical of all Class

 members’ claims.

              iv.       Adequacy

        Representative plaintiffs must also show that they will “fairly and adequately protect the

 interests of this class.” Fed. R. Civ. P. 23(a)(4). This inquiry tests “the experience and ability

 of counsel for the plaintiffs and whether there is any antagonism between the interests of the

 plaintiffs and other members of the class they seek to represent.” Cross v. Nat’l Trust Life Ins.

 Co., 553 F.2d 1026, 1031 (6th Cir. 1977). The Sixth Circuit has instructed that the adequacy

 element consists of two criteria: “(1) the representatives must have common interests with the

 unnamed class members, and (2) it must appear that the representatives will vigorously prosecute

 the class action through qualified counsel.” Rikos, 2018 WL 2009681, at *5 (citing Senter v.

 Gen Motors Corp., 532 F.2d 511, 524–25 (6th Cir. 1976)).

        Plaintiff’s interests are tightly aligned with all other members of the Settlement Class by

 virtue of the very nature of Plaintiff’s claims on behalf of the Plan. Plaintiff, acting in a

 representative capacity, seeks to enforce the duties that Defendants owed to the Plan and to

 recover damages and equitable relief due. See 29 U.S.C. §§ 1109(a), 1132(a)(2); Mass Mut. Life

 Ins. Co. v. Russell, 473 U.S. 134, 142 n.9 (1985). “The general rule that there is ‘a relatively low

 likelihood of intra-class conflicts in cases of excessive fee claims’ because the recovery is to the

 Plan, not to individual Plaintiffs, holds true here.” Beach v. JPMorgan Chase Bank, N.A., 2019

 WL 2428631, at *8 (S.D.N.Y. June 11, 2019); see also Shirk, 2008 WL 4425535, at *3 (finding

 no antagonistic interests between the plaintiffs and the proposed class when then plaintiffs were

 former employees of defendants and participants in the plan). Since Plaintiff is pursuing claims

 on behalf of the Plan, there are no conflicts between Plaintiff’s individual interests and the

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 interests of the Class. See Shirk, 2008 WL 4425535, at *3 (“Because the named Plaintiffs are

 challenging the same alleged unlawful conduct and seeking the same relief as would the rest of

 the class, the interests of the named plaintiffs are sufficiently aligned with those of the class

 members to satisfy the first prong of the adequacy of representation requirement.”). Indeed,

 Plaintiff and Class members all share the same objectives, the same factual and legal positions,

 and the same interest in establishing Defendants’ liability. See Nationwide, 2009 WL 8747486,

 at *10 (finding the first adequacy prong satisfied when plaintiffs’ “interests are aligned with

 those of the Class as the factual and legal claims of Plaintiffs and the Class arise from the same

 nucleus of operative facts and course of conduct by Defendants”).

        A class representative needs only a basic understanding of the claims and a willingness to

 participate in the case, requirements that Plaintiff easily exceeds. See Surowitz v. Hilton Hotels

 Corp., 383 U.S. 363, 373 (1966). Plaintiff has demonstrated her commitment to pursuing this

 Action on behalf of the Settlement Class and has achieved a very favorable result, which does

 not favor any member of the Settlement Class at the expense of others. See Berin Decl., at ¶ 3.

 Plaintiff clearly has, and will continue to, adequately represent all members of the Settlement

 Class. In addition, Plaintiff has retained qualified and competent counsel, whose adequacy is

 discussed in greater detail below. See Bailey v. Verso Corp., 337 F.R.D. 500, 507 (S.D. Ohio

 2021), judgment entered, No. 3:17-CV-332, 2021 WL 5815727 (S.D. Ohio Dec. 6, 2021)

 (finding the adequacy requirement satisfied by class counsel who were “experienced ERISA

 litigators” and had “administered the settlement of numerous retiree-benefit class actions”).

        B.      The Settlement Class Satisfies Rule 23(b)(1)

        In addition to Rule 23(a), Plaintiff need only satisfy one subsection of Rule 23(b). See

 Amchem, 521 U.S. at 613–14. Courts routinely grant certification under Rule 23(b)(1) in ERISA

 fiduciary breach cases. See Karpik, 2021 WL 757123, at *11 (noting that cases involving

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 “allegations of fiduciary breaches to a trust or plan[] are precisely the type of cases that are

 encompassed by” Rule 23(b)(1)); Ortiz v. Fibreboard Corp., 527 U.S. 815, 833–34 (1999)

 (calling breach of trust actions a “classic example” of a Rule 23(b)(1) class); Shirk, 2008 WL

 4425535, at *4 (“courts have routinely found that class certification is appropriate under Rule

 23(b), and most usually 23(b)(1)” in ERISA breach of fiduciary duty cases).

         This is because “ERISA claims [], as a practical matter, adjudicate the interests of all plan

 participants.” Broadwing, 252 F.R.D. at 379. Individual adjudication risks contradictory

 outcomes, and “the conflicting declaratory and injunctive relief could make compliance

 impossible for Defendants.” Id. In other words, because ERISA actions authorize plan-wide

 relief, “there is a risk that failure to certify the class would leave future plaintiffs without relief

 (and there is also a risk of inconsistent dispositions that would prejudice the Defendants).”

 Shirk, 2008 WL 4425535, at *4. This reasoning finds root in trust law, as a suit alleging a breach

 of trust by a trustee or other fiduciary affecting the members of a large class of beneficiaries

 requiring an accounting or similar procedure to restore the subject of the trust is a classic

 example of the Rule 23(b)(1)(B) action. Fed. R. Civ. P. 23, Advisory Committee Note (1966).

 Plaintiff’s claims on behalf of the Plan fall squarely within the Advisory Committee’s example,

 as Plaintiff alleges “breaches of fiduciary duties affecting the Plan and the thousands of

 participants in the Plan.” Karpik, 2021 WL 757123, at *12 (internal citation omitted).

         C.      Miller Shah Should Be Appointed as Class Counsel

 In appointing Class Counsel, this Court should consider the Rule 23(g)(1)(A) factors:

          (i) the work counsel has done in identifying or investigating potential claims in
          this action; (ii) counsel’s experience in handling class actions, other complex
          litigation, and the types of claims asserted in the action; (iii) counsel’s knowledge
          of the applicable law; and (iv) the resources counsel will commit to representing
          the class.

 Fed. R. Civ. P. 23(g)(1)(A). Proposed Class Counsel, Miller Shah LLP (“Miller Shah”), are

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 exceedingly qualified under these factors. See Berin Decl., ¶¶ 5, 7. To date, Class Counsel have

 leveraged their experience and resources to vigorously pursue recovery on behalf of the Plan and

 protect the interests of all Class Members, including by comprehensively investigating the claims

 forming the basis of the Action, filing detailed pleadings, briefing several motions, and engaging

 in the discovery process. Id. ¶¶ 5, 7, 9. Class Counsel also have extensive experience litigating

 ERISA fiduciary breach cases and overseeing the administration of settlements in ERISA

 actions. See id. ¶ 5; Kennedy v. United Healthcare of Ohio, Inc., 206 F.R.D. 191, 198 (S.D.

 Ohio 2002) (appointing class counsel that served as class counsel in “factually similar cases”);

 Broadwing, 252 F.R.D. at 378 (noting that plaintiffs’ counsel “are experience in representing

 plaintiffs in ERISA and class action litigation generally” and that plaintiffs’ counsel “vigorously

 and effectively pursued the interests of the Class”). Class Counsel will continue to leverage their

 wealth of relevant experience and resources on behalf of the Settlement Class through final

 resolution, including addressing inquiries from members of the Settlement Class and supervising

 the work of the Settlement Administrator. Accordingly, the Court should appoint Miller Shah as

 Class Counsel.

 II.    THE SETTLEMENT, NOTICE PLAN, AND PLAN OF ALLOCATION
        WARRANT PRELIMINARY APPROVAL

        The first step in approving any proposed settlement in a class action is preliminary

 approval. See Tenn. Ass’n of Health Maint. Orgs., Inc. v. Grier, 262 F.3d 559, 565 (6th Cir.

 2001). At this stage, the Court reviews the proposed settlement to determine whether it is within

 the “range of reasonableness” and whether, taken as a whole, it is “fair, reasonable, and adequate

 and in the public interest.” Hip Prosthesis, 204 F.R.D. at 381–82. As this Court has recognized,

 the analysis begins with the premise that “settlement of class actions is generally favored and

 encouraged.” Broadwing, 252 F.R.D. at 371 (quoting Franks v. Kroger Co., 649 F.2d 1216,


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 1224 (6th Cir. 1981)).

         A.       The Settlement Should Be Preliminarily Approved

         There is a strong initial presumption that a proposed class action settlement is fair and

 reasonable when it is the result of arm’s-length negotiations. See Bailey, 337 F.R.D. at 505

 (instructing that the court should grant preliminary approval if the settlement “appears to be the

 product of serious, informed, non-collusive negotiations, has no obvious deficiencies, does not

 improperly grant preferential treatment to class representatives or segments of the class, and falls

 with the range of possible approval”) (internal quotations omitted). As described above, the

 Settlement is the product of an extensive arm’s-length process under the auspices of an

 experienced neutral mediator. Further, Class Counsel and Defendants’ counsel are experienced

 in ERISA litigation, and each possess a thorough understanding of the factual and legal issues

 involved in the Action, which the Sixth Circuit has recognized as a factor weighing in favor of

 settlement approval. See Karpik, 2021 WL 757123, at *6 (“Class Counsel are skilled in class

 actions and ERISA litigation, and their recommendation that the Court should approve the

 Settlement is entitled to some deference.”); In re Packaged Ice Antitrust Litig., No. 08-MD-01952,

 2011 WL 717519, at *11 (E.D. Mich. Feb. 22, 2011) (“Class counsel’s judgment that settlement is

 in the best interest of the class is entitled to significant weight, and supports the fairness of the

 settlement.”).

         Class Counsel conducted substantial investigation and analysis of thousands of pages of

 documents. See Berin Decl. ¶¶ 6–7. Although this proposed Settlement Agreement comes at an

 early stage of the litigation, Class Counsel has extensively developed Plaintiff’s claims on behalf

 of the Plan and Settlement Class. See Nationwide, 2009 WL 8747486, at *5 (approving

 settlement reached “at a relatively early stage of the proceedings” because the parties had “a

 clear view of the strengths and weaknesses of their cases”) (internal quotations omitted). The

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 Parties were engaged in vigorous litigation when they agreed to the Settlement and further

 litigation promised to be lengthy and complex, involving numerous competing experts on

 liability issues concerning Plaintiff’s claims and Defendants’ defenses, as well as the Plan’s

 alleged losses. The Parties likely would have filed dispositive motions and pretrial motions,

 including motions concerning the anticipated expert testimony. Thus, Plaintiff faced

 meaningful challenges to her ability to obtain a recovery on behalf of the Plan, even setting aside

 the additional complexity and delay of likely appeals, which strongly supports preliminary

 approval of the Settlement. See Bailey, 337 F.R.D. at 506 (“This settlement is particularly

 beneficial for class members because it guarantees them a pay-out without the corresponding

 uncertainty of dispositive motion practice”); UAW v. Gen. Motors Corp., 497 F.3d 615, 632 (6th

 Cir. 2007) (“What makes these settlements particularly sensible, moreover, is that, even if this

 merits question favored one party over the other, the retirees still would have had ample reason

 to control the resolution of this dispute through negotiation today rather than litigation

 tomorrow.”).

        Class Counsel has significant experience in class action litigation generally and ERISA

 breach of fiduciary duty litigation in particular, and are of the opinion that the Settlement is fair

 and reasonable. See Broadwing, 252 F.R.D. at 375 (giving weight to the opinions of counsel for

 both sides in favor of settlement and noting that plaintiffs’ and defendants’ counsel were

 “experienced practitioners in the field of complex ERISA, class action, employment and

 securities litigation”); Nationwide, 2009 WL 8747486, at *5 (“The view of experienced counsel

 favoring the settlement is entitled to great weight.”). The Settlement provides a substantial

 monetary recovery of $2,750,000.00 as well as meaningful non-monetary relief related to the

 ongoing management and administration of the Plan. Further, the Parties will submit the



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 Settlement to an independent fiduciary, which will provide an opinion on the Settlement’s

 fairness before the final fairness hearing. See Broadwing, 252 F.R.D. at 375 (according weight

 to a report filed by an independent fiduciary finding a proposed settlement fair and favorable to

 the plan).

        In sum, the Settlement is the product of vigorous litigation and arm’s-length negotiation

 by experienced and well-informed counsel, and it provides significant relief to the Settlement

 Class. Accordingly, the Court should find the Settlement is fair, reasonable, and adequate, and

 merits preliminary approval.

        B.      The Notice Plan Should Be Preliminarily Approved

        In addition to preliminarily approving the proposed Settlement, the Court must approve

 the proposed means of notifying Settlement Class members. See Fed. R. Civ. P. 23(c)(2). Due

 process and Rule 23(e) do not require that each Class Member receive notice, but rather that class

 notice be “reasonably calculated, under the circumstances, to apprise interested parties of the

 pendency of the action and afford them an opportunity to present their objections.” Mullane v.

 Central Hanover Bank and Trust Co., 339 U.S. 306, 314 (1950). “Individual notice must be

 provided to those class members who are identifiable through reasonable effort.” Eisen v.

 Carlisle & Jacquelin, 417 U.S. 156, 175 (1974).

        The Notice Plan is designed to reach the largest number of Settlement Class members

 possible. The Settlement Notice will be sent by email and/or first-class mail to the last known

 address of each Settlement Class member prior to the Fairness Hearing. Notably, all Settlement

 Class members had Plan accounts, so the Plan’s recordkeeper has their addresses and other

 identifying information. See Johnson v. Midwest Logistics Sys., Ltd., No. 2:11-CV-1061, 2013

 WL 2295880, at *8–9 (S.D. Ohio May 24, 2013) (finding delivering notice by first class mail to

 individual class members to be the best notice practicable). Additionally, the Notice, Settlement

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 Agreement, and other litigation documents will be posted on a website created by the Settlement

 Administrator, and the Settlement Administrator will establish and monitor a toll-free number to

 field Settlement Class member inquiries. The Notice will also provide Class Counsels’ contact

 information.

        The Notice Plan satisfies all due process considerations and meets the requirements of

 Rule 23(e). The Notice Plan clearly describes: (i) the terms and operation of the Settlement; (ii)

 the nature and extent of the Released Claims; (iii) the maximum attorneys’ fees, litigation

 expenses, and case contribution award that may be sought; (iv) the procedure and timing for

 objections; and (v) subject to the Court’s schedule, the date and location of the Fairness Hearing.

        C.      The Plan of Allocation Should Be Preliminarily Approved

        The Plan of Allocation provides recovery to members of the Settlement Class on a pro

 rata basis, with no preferential treatment for the Class Representative or any segment of the

 Settlement Class. This is substantially similar to plans approved by courts in analogous ERISA

 litigation. See, e.g., Terraza v. Safeway Inc., No. 16-cv-03994-JST, Dkt. 268 (N.D. Cal. Sept. 8,

 2020) (“Settlement Scores will be determined by calculating the Class Member’s year-end

 account balance during the Class Period and dividing that amount by the total sum of year-end

 asset amounts in the Plan during the Class Period . . . .”); Karpik, 2021 WL 757123, at *2

 (approving a plan of allocation distributing the settlement fund on a pro rata basis). In light of

 the equitable treatment of Class Members, the Court should find that the Plan of Allocation is

 also fair, reasonable, and adequate.

                                          CONCLUSION
        Plaintiff respectfully submits that this Court should preliminarily approve the Settlement,

 Notice Plan, and Plan of Allocation, preliminarily certify the Settlement Class, and set a date for a

 final fairness hearing.


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  DATED: August 11, 2022                      Respectfully submitted,

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                 CERTIFICATE OF COMPLIANCE WITH WORD COUNT
        I certify that this Memorandum complies with the page and type requirements under

 Local Rule 7.2(a)(3) because it is less than 20 pages double-spaced.

                                                      /s/ Jeffrey S. Goldenberg
                                                      Jeffrey S. Goldenberg
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 11, 2022, I electronically filed the foregoing Plaintiffs’

 Memorandum in Support of Unopposed Motion for Preliminary Approval of Class Action

 Settlement with the Clerk of Court, and upon the counsel of record using the CM/ECF system.

                                                       /s/ Jeffrey S. Goldenberg
                                                       Jeffrey S. Goldenberg
